Case 2:17-cv-00745-JRG-RSP Document 7 Filed 11/21/17 Page 1 of 13 PageID #: 99



                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF TEXAS
                                      MARSHALL DIVISION

  JASON LEE VAN DYKE                                  )(       Civil Action No. 2:17-cv-745
      Plaintiff,                                      )(
                                                      )(
  vs.                                                 )(       Hon. Rodney Gilstrap
                                                      )(
  MOCKINGBIRD PUBLISHING CO.                          )(       Plaintiff’s Motion to Amend and
  and GERARD BELLO II                                 )(       Remand and Memorandum in Support
       Defendants.                                    )(

                                MOTION TO AMEND AND REMAND

        COMES NOW Plaintiff, Jason Lee Van Dyke, and files this motion to amend

  complaint and remand under Rule 15(a)(2) of the Federal Rules of Civil Procedure and 28

  U.S.C. § 1447(c). Specifically, Plaintiff prays that this Honorable Court (1) permit Plaintiff

  to amend its complaint to clarify that he only seeks nominal damages plus general damages

  for injury to his personal and professional reputation in the maximum amount of $60,000.00;

  and (2) remand this case to the Denton County Court at Law No. 2, where it was originally

  filed. Plaintiff’s Second Amended Complaint is filed contemporaneously.1

                                                      Respectfully submitted,

                                                      /s/ Jason Lee Van Dyke
                                                      Jason L. Van Dyke
                                                      Tex. Bar No. 24057426
                                                      108 Durango Drive
                                                      Crossroads, TX 76227
                                                      P – (469) 964-5346
                                                      F – (972) 421-1830
                                                      Email: jason@vandykelawfirm.com




  1
   Since this Second Amended Complaint is being filed in federal court, Plaintiff has utilized the federal court’s
  case caption for its Second Amended Complaint, even though the amendments amend a state court complaint.



Motion to Remand                                                                                      Page 1 of 13
Case 2:17-cv-00745-JRG-RSP Document 7 Filed 11/21/17 Page 2 of 13 PageID #: 100




                                 CERTIFICATE OF SERVICE

   I hereby certify that I served a true and correct copy of the above and foregoing document on
   counsel for all parties on this 21st day of November, 2017, at the address below using the
   method listed below:

        Randall Kallinen              via electronic mail/facsimile
        511 Broadway St.
        Houston, TX 77012


                                              /s/ Jason Lee Van Dyke
                                              JASON L. VAN DYKE




 Motion to Remand                                                                    Page 2 of 13
Case 2:17-cv-00745-JRG-RSP Document 7 Filed 11/21/17 Page 3 of 13 PageID #: 101



                               MEMORANDUM IN SUPPORT

                                            I.    FACTS

   1.   Plaintiff is Jason Lee Van Dyke. Defendants are Mockingbird Publishing Co. and

        Gerard Bello II. On September 15, 2017, Plaintiff sued Defendants for libel in the

        Denton County Court at Law No. 2. Mockingbird Publishing Co. was served with

        notice of suit on or around October 18, 2017. Gerard Bello II has not yet been served

        with notice of suit. Defendants filed their notice of removal on November 16, 2017.

   2.   Plaintiff’s complaint contains a single count of libel per se. Plaintiff seeks recovery

        from Defendants of nominal damages plus damages for injury to his personal and

        professional reputation in the amount of $60,000.00. The basis for Plaintiff’s

        complaint is an open letter published by Defendants on the Internet and distributed on

        social media where Defendant made the following false and defamatory statements

        concerning Plaintiff: (a) Plaintiff is a white nationalist, a nazi, and/or a neo-nazi; (b)

        Plaintiff was convicted of weapons charges and domestic violence; (c) Plaintiff is

        prohibited under federal law from possessing firearms and is currently in violation of

        federal law for possessing firearms; and (d) Plaintiff has committed professional

        misconduct through the unauthorized practice of law or through unlawful “forum

        shopping”. It should be noted that Defendants have continued to make similar false

        and defamatory statements concerning Plaintiff during the pendency of this lawsuit as

        part of a fundraising campaign to pay their legal fees.

                                           II.   ISSUES

   3.   The first issue is whether Plaintiff may be permitted leave to amend his complaint to

        clarify that the maximum amount in controversy is less than $75,000.00. The second




 Motion to Remand                                                                        Page 3 of 13
Case 2:17-cv-00745-JRG-RSP Document 7 Filed 11/21/17 Page 4 of 13 PageID #: 102



        issue is whether this matter should be remanded to the Denton County Court at Law

        No. 2. These two issues will be considered in sequence.

                                          III. ARGUMENT

                                         A.   Motion to Amend

                  i.         Plaintiff Is Entitled to Amend as a Matter Of Course

   4.   Plaintiff alleges that it is entitled to amend its complaint as a matter of law pursuant to

        Rule 15(a)(1)(B) of the Federal Rules of Civil Procedure.

   5.   Plaintiff First Amended Complaint is a pleading to which a responsive pleading is

        required. Snyder v. Pascack Valley Hosp., 303 F.3d 271, 276 (3d Cir. 2002). Plaintiff

        was served with Defendants’ Original Answer on November 13, 2017. Plaintiff’s

        Second Amended Complaint was filed within 21 days after service of the responsive

        pleading, and therefore, it should be permitted as a matter of course.

   6.   Rule 15(a)(1) permits a party to amend its pleading once as a matter of course.

        Although this is Plaintiff’s second amended pleading, it is also the first time Plaintiff

        has amended while in federal court. It should further be noted that Plaintiff First

        Amended Complaint was filed in state court only to permit service on one of the parties

        by and through the Texas Secretary of State.

   7.   Even if this Court finds that Plaintiff was not entitled to additional amendments as a

        matter of course after the filing of its first amended complaint, this Court should still

        permit Plaintiff to amend its complaint under Rule 15(a)(2).

                       ii.     Standards for Amendments Under Rule 15(a)(2)

   8.   Rule 15(a)(2) of the Federal Rules of Civil Procedure permits a party to amend its

        pleading only with the opposing party’s written consent or the court’s leave. It further




 Motion to Remand                                                                        Page 4 of 13
Case 2:17-cv-00745-JRG-RSP Document 7 Filed 11/21/17 Page 5 of 13 PageID #: 103



        specifies that “the court should freely give leave when justice so requires.” In

        determining whether “justice so requires,” a court may balance harm to the moving

        party if he or she is not permitted to amend against prejudice caused to the other party

        if leave to amend is granted. Foman v. Davis, 371 U.S. 178, 182 (1962).

              iii.   Defendant Will Not Be Prejudiced by an Amended Pleading

   9.   In determining whether to grant leave for a plaintiff to amend his complaint, “[t]he

        most important determining factor is whether . . . the opposing party will be prejudiced

        if the movant is permitted to alter his pleadings.” State of Tenn. Ex. Rel. Pierotti v. 777

        N. White Station Road, 937 F. Supp 1296 (W.D. Tenn 1996). Defendants have only

        engaged in two activities in response to Plaintiff’s First Amended Complaint: (1) the

        filing of a responsive pleading; and (2) the removal. Neither of these very limited

        activities warrants a finding that Defendants will be prejudiced as no significant

        litigation has taken place in this court: no pre-trials have taken place, no Rule 26

        conference has been conducted, an no other motions have been filed. Consequently,

        Defendants cannot seriously argue that they would be prejudiced if this Court were to

        grant Plaintiff leave to amend its Complaint so as to clarify that it seeks damages in the

        maximum amount of $60,000.00.

   10. Removal to this Court by Defendants was nothing more than a tactical venture in forum

        shopping and their arguments in support of removal are dubious at best. They have

        artfully argued that Plaintiff’s First Amended Petition seeks affirmative relief in an

        amount exceeding $75,000.00 based in part upon portions of the petition specifically

        required to be plead by the Texas Rules of Civil Procedure rather than what Plaintiff is

        actually seeking in damages. Specifically: (a) [a]n original pleading which sets forth a




 Motion to Remand                                                                       Page 5 of 13
Case 2:17-cv-00745-JRG-RSP Document 7 Filed 11/21/17 Page 6 of 13 PageID #: 104



        claim for relief . . . shall contain a statement that the damages sought are within the

        jurisdictional limits of the court. Tex. R. Civ. P. 47(b). Rule 47 goes on to state that,

        except in suits governed by the Family Code, “a statement that the party seeks: (1) only

        monetary relief of $100,000.00 or less, including damages of any kind, penalties, costs,

        expenses, pre-judgment interest, and attorney fees; or (2) monetary relief of $100,000

        or less and non-monetary relief; or (3) monetary relief over $100,000 but not more than

        $200,000; or (4) monetary relief over $200,000 but not more than $1,000,000; or (5)

        monetary relief over $1,000,000.”

   11. In the only other portion of the pleading pertaining to damages, Plaintiff pleads nominal

        damages and damages in the amount of at least $60,000.00. Although Plaintiff could

        have, in theory, plead an amount in excess of $60,000.00, it elected not to do so and

        specifically plead for an award of $60,000.00. Other federal courts have observed that

        the sum claimed by the plaintiff controls to determine whether the controversy exceeds

        $75,000.00. See e.g. Everett v. Verizon Wireless, 460 F.3d 818, 822 (6th Cir. 2006);

        Gafford v. Gen. Elec. Co., 997 F.2d 150, 155 (6th Cir. 1993). In short, Defendants are

        relying solely on the words “at least” to justify removal of this case to federal court.

        Plaintiff’s Second Amendment Complaint has simply re-plead a state court claim in a

        manner consistent with the federal rules of civil procedure and clarified that Plaintiff

        seeks no more than $60,000.00 in general damages for injury to his personal and

        professional reputation. If anything, this amendment would benefit Defendants by

        capping the general damages that Plaintiff may recover in this case.

      iv.   Destruction of Diversity Jurisdiction is Insufficient to Deny Leave to Amend

   12. With consideration to the pleading requirements of county and districts courts




 Motion to Remand                                                                        Page 6 of 13
Case 2:17-cv-00745-JRG-RSP Document 7 Filed 11/21/17 Page 7 of 13 PageID #: 105



        referenced in paragraph six above, there is little doubt that the amendment to Plaintiff’s

        complaint may result in a federal court finding itself devoid of jurisdiction. It is

        nevertheless appropriate to permit such amendment, and in fact, federal courts have

        expressly permitted such amendments in the past.

   13. In Kinsey v. Snap-On Tools, the plaintiff brought state and federal claims in state court.

        752 F. Supp. 693 (W.D.N.C. 1990). Three weeks after removal, the plaintiff sought to

        amend its complaint under Rule 15(a) to eliminate the RICO claims. Id. The defendant

        argued that the plaintiff should not be permitted to amend his complaint where the

        effect is to avoid federal jurisdiction. Id. The Kinsey court held as follows:

                “Plaintiffs state that they no longer wish to pursue federal RICO claims. The
                Court can envision a host of reasons for such a decision including the expense
                and complexity of pursuing RICO claims. While Plaintiffs may be attempting
                to avoid federal jurisdiction by amending the complaint . . . such a reason does
                not diminish the right of these plaintiffs to set the tone of their case by alleging
                what they choose.” Id., (quoting McGann v. Mungo, F. Supp. 1413, 1415
                (D.S.C. 1982).

   14. In this case, Plaintiff is not even seeking to remove a federal cause of action for the

        purpose of defeating the jurisdiction of this Court. Rather, Plaintiff seeks to clarify that

        the general damages he seeks for injury to his personal and professional reputation do

        not exceed $60,000.00. While Plaintiff believes that this fact was abundantly clear in

        his First Amended Complaint, it is willing to clarify this fact.

   15. Courts have been slightly more demanding with respect to amendments that destroy a

        court’s diversity jurisdiction through joinder of a non-diverse party. See e.g. Moore v.

        Manns, 732 F.3d 454, 456 (5th Cir. 2013); Bailey v. Bayer CropScience L.P., 563 F.3d

        302, 309 (8th Cir. 2009). Again, Plaintiff is not asking the Court to add a non-diverse

        party to this case. This is merely an amendment that seeks to clarify that which




 Motion to Remand                                                                         Page 7 of 13
Case 2:17-cv-00745-JRG-RSP Document 7 Filed 11/21/17 Page 8 of 13 PageID #: 106



        Plaintiff believed was abundantly clear in a prior pleading.

   16. Notwithstanding long standing precedent permitting a Plaintiff to remain the master of

        his claim, the Court may have reservations that an amendment which almost guarantees

        remand amounts to a type of gamesmanship or forum-shopping. Any such reservations

        should not influence this case. A full consideration of the matter demonstrates that it

        was nothing more than Defendants’ gamesmanship and forum shopping that brought

        this case to federal court in the first instance. This is demonstrated by Defendants’

        relatively weak arguments suggesting that Plaintiff seeks $75,000.00 or more combined

        with the fact that Plaintiff’s suit is based only on state law claims. Given these

        circumstances, as well as commentary made by both Defendants and their counsel to

        media, removal of this case was likely engineered to (1) hinder and delay proceedings

        that have already drawn significant media scrutiny; (2) avoid the hearing of this matter

        by the duly-elected judiciary of Denton County; or (3) some other purely tactical

        purpose. Consequently, Plaintiff should be permitted leave to amend his Complaint so

        as to clarify that he seeks no more than nominal damages plus $60,000.00 in general

        damages.

                                     B.    Motion to Remand

                       i.   Standard of Review for a Motion to Remand

   17. This Court must strictly construe the removal statutes in favor of remand and against

        removal. Bosky v. Kroger Tex., LP, 288 F.3d 208, 211 (5th Cir. 2002). It must

        remand this lawsuit back to the Denton County Court of Law No. 2 is it lacks subject

        matter jurisdiction. 28 U.S.C § 1447(c).

   18. Regardless of whether this Court permits Plaintiff to amend his Complaint, this case




 Motion to Remand                                                                       Page 8 of 13
Case 2:17-cv-00745-JRG-RSP Document 7 Filed 11/21/17 Page 9 of 13 PageID #: 107



            should be remanded to Denton County Court at Law No. 2. Pursuant to 28 U.S.C. §

            1447(c), a motion to remand is the proper vehicle for challenging a defendant’s notice

            of removal. A motion to remand also appears to be the mechanism by which a plaintiff

            urges a federal court. Hurley v. Motor Coach Indus., 222 F.3d 377, 380 (7th Cir.

            2000).

      ii.      This Court Lacks Diversity Jurisdiction Due To The Amount in Controversy

   19. This Court should remand this case to state court because, regardless of whether

            Plaintiff is ultimately permitted to amend his complaint, the amount in controversy

            clearly does not exceed $75,000.00, excluding interest and costs. 28 U.S.C. § 1332(a);

            The amount in controversy is nominal damages and general damages in the amount of

            only $60,000.00 excluding interest and costs.

   20. Defendants’ basis for removal of this case is substantially addressed previously in this

            motion. Specifically, they have utilized language in Plaintiff’s pleading that is

            specifically required by Rule 47 of the Texas Rules of Civil Procedure as a means

            through which to invoke this Court’s jurisdiction. See supra ¶ 10. Neither a statement

            that a Plaintiff seeks damages within the jurisdictional limits of a particular court, nor a

            general statement concerning the damages sought in a case should be interpreted under

            these circumstances as a plea for damages of $75,000.00 or more. The language of “at

            least $60,000.00” as opposed to “not greater than $60,000.00” is similarly addressed

            herein. See supra ¶ 11.

   21. This Court should not permit Defendants to rely on boilerplate language, required in

            Plaintiff’s petition by Tex. R. Civ. P. 47, as being sufficient to establish diversity

            jurisdiction under 28 U.S.C. § 1332(a). The consequences of such a finding would




 Motion to Remand                                                                             Page 9 of 13
Case 2:17-cv-00745-JRG-RSP Document 7 Filed 11/21/17 Page 10 of 13 PageID #: 108



          amount to a finding that the Texas Rules of Civil Procedure themselves are intended to

          permit removal to federal any case involving diversity of citizenship that is filed in the

          district or county courts of Texas. Furthermore, this Court should respect the well-

          established precedent of examining the complaint at the time it was filed for the

          purpose of determining whether diversity jurisdiction exists.

   iii.   $60,000.00 is a Reasonable Assessment of Plaintiff’s Damages from this Defendant

   22. In its first amended complaint, Plaintiff requested nominal damages. Nominal damages

          are damages awarded when there has been a violation of legal right, but the injured

          party has not sustained any actual loss or cannot prove the amount of the loss. See

          Hancock v. Variyam, 400 S.W.3d 59, 65 (Tex. 2013); MBM Fin. Corp. v. Woodlands

          Oper. Co., 292 S.W.3d 660, 665 (Tex. 2009). Nominal damages are damages in name

          only and are awarded in a trivial amount – often only one dollar. Hancock, 400 S.W.3d

          at 65. A plaintiff who successfully pleads a cause of action for defamation is entitled,

          at the very least, to nominal damages. Id.

   23. General damages are recoverable in a cause of action for libel. Kelly v. Diocese of

          Corpus Christi, 832 S.W.2d 88, 94 (Tex. App. – Corpus Christi 1992, writ dism’d).

          These are non-economic damages that do not require a plaintiff to prove that it suffered

          a pecuniary loss. Hancock, 400 S.W.3d at 65-66. In this case, Plaintiff seeks general

          damages as compensation primarily for injury to his character or reputation only. As

          this is case is for libel per se, Plaintiff is presumed to be entitled to general damages,

          but the law does not presume any particular of damages beyond nominal damages.

          Salinas v. Salinas, 365 S.W.3d 318, 320 (Tex. 2012); see e.g. Waste Mgmt. v. Texas

          Disposal Sys. Landfill, Inc., 434 S.W.3d 142, 159-60 (Tex. 2014).




  Motion to Remand                                                                        Page 10 of 13
Case 2:17-cv-00745-JRG-RSP Document 7 Filed 11/21/17 Page 11 of 13 PageID #: 109



   24. The subject-matter of this litigation is a very small publication that is local to the

        Columbus, Ohio area. Plaintiff is licensed to practice law in the U.S. District Court in

        and for the Northern District of Ohio, but does not live in Ohio and does not routinely

        practice law in Ohio. In fact, Plaintiff would have been ignorant as to the publication

        of the false and defamatory statements if Defendants had not published them on the

        Internet-based article and sent that article to the public at large through Twitter.

   25. The false and defamatory publications concerning Plaintiff remain available online.

        The mere existence of this publication is damaging to Plaintiff’s personal and

        professional reputation. However, when considering both the locality of the

        publication and the size of the publisher, it’s almost completely unforeseeable that

        Plaintiff will recover more than $75,000.00 for Defendants.

         iv.   The Newspaper Articles Cited by Defendants are Gross Exaggerations
                         of the Potential for Damages in this Case.

   26. Defendants have cited several cases as evidence that a judgment in this case could

        exceed $75,000.00. One of them is 1991 article concerning a libel judgment against a

        broadcasting company and television news reporter who was the subject of an eleven-

        part television series. The article states that, of the $58 million awarded in that case

        against a major broadcast network, a total of $40 million were punitive damages.

        Plaintiff has not plead punitive damages in this case and does not seek such damages.

        Furthermore, this case is easily distinguishable from the WFAA case: that case, which

        pre-dated the Internet, involved an eleven-part television series by a major network that

        was broadcast almost exclusively in the area where the plaintiff practiced. This case

        involves a single article that would not have been known to anyone in the area where

        Plaintiff practices law but for Defendants’ decision to broadcast it on Twitter and the




  Motion to Remand                                                                      Page 11 of 13
Case 2:17-cv-00745-JRG-RSP Document 7 Filed 11/21/17 Page 12 of 13 PageID #: 110



        world wide web.

   27. The second case furnished to this Court as an example is also remarkably

        distinguishable from this case: it involves anonymous commentators posting that the

        plaintiffs were molesters and sexual deviants. The damages in that case were

        extensive: the subjects of the article were indicted for a felony, tried, and acquitted.

        The plaintiffs were forced to move out of town and one of the plaintiffs lost her

        business. This case does not involve damages that even remotely resemble those that

        were awarded in the Lesher case, and it remains unclear how much of the award in the

        Lesher case was for damages that have neither been plead nor sought in this case.

   28. The third article furnished to this Court simply referenced a Henderson County

        judgment for $500,000.00 in 2006. Once again, it remains unclear from the article

        what types of damages were sought and what portion of them were of a nature that

        would be inapplicable to this case.

                                       IV. CONCLUSION

   29. Plaintiff should be permitted to amend its complaint as a matter of course under Rule

        15(a)(1)(B) of the Federal Rules of Civil Procedure. Even if this rule does not apply,

        Plaintiff should still be permitted leave to amend under Rule 15(a)(2). Regardless of

        whether Plaintiff’s Second Amended Complaint is accepted by this Court, Defendant

        cannot rely on language expressly required under the rules of pleading in Texas courts

        for the purpose of establishing diversity jurisdiction in this Court. It should also appear

        to this Court to a legal degree of certainty that Plaintiff in good faith will not recover

        $75,000.00 or more in this case. Accordingly this Court lacks subject mater

        jurisdiction over the lawsuit and this case should be remanded.




  Motion to Remand                                                                      Page 12 of 13
Case 2:17-cv-00745-JRG-RSP Document 7 Filed 11/21/17 Page 13 of 13 PageID #: 111



                                         V.    PRAYER

   30. Plaintiff prays that this Honorable Court grant this motion and remand this suit to the

        Denton County Court at Law No. 2.

                                              Respectfully submitted,

                                              /s/ Jason Lee Van Dyke
                                              Jason L. Van Dyke
                                              Tex. Bar No. 24057426
                                              108 Durango Drive
                                              Crossroads, TX 76227
                                              P – (469) 964-5346
                                              F – (972) 421-1830
                                              Email: jason@vandykelawfirm.com

                                 CERTIFICATE OF SERVICE

   I hereby certify that I served a true and correct copy of the above and foregoing document on
   counsel for all parties on this 21st day of November, 2017, at the address below using the
   method listed below:

        Randall Kallinen              via electronic mail/facsimile
        511 Broadway St.
        Houston, TX 77012


                                              /s/ Jason Lee Van Dyke
                                              JASON L. VAN DYKE




  Motion to Remand                                                                   Page 13 of 13
